      Dated: 11/20/2020




                          UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

IN RE:                                      )
                                            )      Case No. 3:20-bk-03559
JAMES WHITFIELD LIVINGSTON,                 )      Chapter 13
                                            )      Judge Marion F. Harrison
       Debtor.                              )


         ORDER SETTING CONTESTED CONFIRMATION HEARING BY ZOOM

            This Order sets procedures to use at video hearings conducted in this case. Under

   Federal Rule of Civil Procedure 43, made applicable in this case under Federal Rule of

   Bankruptcy Procedure 9017, the Court, for good cause in compelling circumstances and with

   appropriate safeguards, may permit testimony in open court by contemporaneous

   transmission from another location. The Centers for Disease Control has recommended that

   all individuals practice “social distancing” and avoid close contact to prevent the spread of

   the COVID-19 virus. The Court finds that the need for social distancing constitutes good

   cause and compelling circumstances to permit court hearings and testimony by video.

   Accordingly, it is

       ORDERED:

       1.      The confirmation hearing (the “Hearing”) in the above captioned matter is

scheduled for January 6, 2021, at _________________,
                                   1:00 pm           and shall take place via the Zoom

video conferencing platform.


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       2.      Any party who wishes to actively participate in the Hearing must use the

following link and instructions: https://www.zoomgov.com/j/1611059676, Dial in information is:
1-888-568-8864, Meeting ID: 161 105 9676.




       3.      Witnesses must participate by video. Counsel for the party presenting the witness

must coordinate all aspects of the witness’s participation including designating an estimated time

when the witness will connect to the video conference, establishing an off-line method to contact

the witness, and implementing safeguards to insure a witness is sequestered until called.

Witnesses will be sworn in by video and their testimony will be accepted and binding as if they

were testifying live in the courtroom. Failure to properly sequester a witness could result in

sanctions against the attorney and the party calling the witness.

       4.      Only one participant is permitted per video link, i.e., each participant must use a

separate computer and video camera to connect to the Hearing.




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         6.     Parties that wish to listen only, who do not anticipate active participation

including questioning of witnesses, or who lack technology to participate by video may

participate via the Zoom telephone number is provided in paragraph 2. above. To clarify, direct

or cross examination of a witness requires active participation. No participant may question a

witness or make an evidentiary objection unless they are an active participant appearing via

video.

         7.     All parties participating by video must connect at least 15 minutes before the

scheduled start time for the Hearing.

         8. Any party that fails connect to the Hearing may not participate by video, except that

witnesses appearing only for their testimony may connect to the Hearing when appropriate.

         9. During the Hearing, all participants must:

                a. Dress in appropriate court attire (if appearing by video);

                b. Ensure their background is professional and not distracting to the proceedings;

                c. Mute their microphone when not speaking;

                d. Silence electronic devices including cell phones and notifications on the device

                        being used for the video;

                e. Wait until called upon by the Court before speaking;

                f. Not speak over other participants;

                g. Participate from a quiet location;

                h. Announce themselves prior to speaking; and

                i. Not leave the room or move the device during the Hearing except for minor

                        camera adjustments when necessary.

         10. To the extent evidence will be introduced at the Hearing, the parties must comply




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with the requirements of Local Rule 9029-1(d), Administrative Procedures for Submission of

Evidence Electronically, and the administrative procedures regarding the filing, exchange and

use of exhibits which constitute the Electronic Evidence Procedures (“EEP”) located on the

Court’s website.

       11. Participants are reminded that photographing (including screenshots), recording, or

further broadcasting or sharing images from the Hearing is strictly prohibited. Violation of these

prohibitions may result in sanctions. All hearings will continue to be recorded using the Court’s

official digital recording system. The process for requesting an official transcript has not

changed.

           THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                     INDICATED AT THE TOP OF THE FIRST PAGE



APPROVED FOR ENTRY:

By:_/s/ Matthew R. Murphy________
Matthew R. Murphy (#24627)
Smythe Huff & Murphy PC
1222 16th Avenue South, Suite 301
Nashville, Tennessee 37212
Phone: (615) 255-4849
Fax: (615) 255-4855
mmurphy@smythehuff.com
Attorney for Cassie Burton and Milessa Thomas


By: /s/ Steven L. Lefkovitz (by permission)
Steven L. Lefkovitz
Lefkovitz & Lefkovitz
618 Church Street, Suite 410
Nashville, Tennessee 37219
Phone: (615) 256-8300
Fax: (615) 255-4516
slefkovitz@lefkovitz.com
Attorney for James Whitfield Livingston

                                                                       This Order has been electronically
                                                                       signed. The Judge's signature and
                                                                       Court's seal appear at the top of the
                                                                       first page.
                                               4                       United States Bankruptcy Court.

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